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                              UNITED STATES DISTRICT Court
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

       UNITED STATES OF AMERICA,

             Plaintiff,

                                                       Case No. 8:05-cr-498-T-17MSS

       ERASMO AGUINAGA,

             Defendant.


                               FINAL ORDER OF FORFEITURE

             THIS CAUSE comes before the court upon the filing of a Motion by the

       United States of America for a Final Order of Forfeiture for the following property:

              1.     The five (5) acre parcel of real property located in Section 36,
                     Township 34 South, Range 22 East, Manatee County, Florida,
                     more fully described below: together with its holdings, inventory,
                     improvements, fixtures and attachments:

                     Myakka Oaks Legal Description - Parcel 1:

                     Commence at the Southwest corner of Section 36, Township 34
                     South, Range 22 East. Manatee County, Florida; thence run S 89"
                     19' 05" E along the South line of said Section 36, 130.79 feet for a
                     point of beginning; thence N 00" 19' 38" E, parallel to the East line
                     of the SW l/o of the SW 'A of Section 36, 908.02 feet; thence S 89"
                     19' 05" E, 240.00 feet; thence run S 00" 19' 38" W, 908.02 feet to
                     the aforementioned South line of Section 36; thence N 89" 19' 05"
                     W along said South line. 240.00 feet to the SW corner of Section 36
                     and the point of beginning; and

              2.     Real property located at 6432 Case Avenue. Bradenton, Florida,
                     including all improvements thereon and appurtenances thereto, the
                     legal description for which is as follows:
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                      Lot 6, Block G, Bayshore Gardens, Section No. 8, according to the
                      Plat thereof as recorded in Plat Book 11: Page(s) 63, Public
                      Records of Manatee County, Florida.

             Accordingly, for good cause shown, it is hereby ORDERED, ADJUDGED

      AND DECREED that the Motion of the United States is GRANTED.

                It is further ORDERED that the above-referenced property is hereby

      forfeited to the United States of America pursuant to the provisions of 21 U.S.C.

      5 853(n)(7), and Fed. R. Crim. P. 32.2(~)(2).
                It is further ORDERED that the United States Marshals Service be and is

      hereby given full possession and control of the property for disposition pursuant

      to law.

                It is further ORDERED that all any and all outstanding taxes and interest

       due and owing the Manatee County Tax Collector, through the date of the Final

       Order of Forfeiture, be paid at the time of sale.

                It is further ORDERED that the United States and Fred Katz and Brenda

       K. Katz, as Co-Trustees of the Fred Katz and Brenda K. Katz Revocable Trust

       u/t/d February 26, 1997, by and through Joseph Roback, Esquire, comply with

       their Expedited Stipulated Settlement Agreement (Dkt. No. 551).

                It is further ORDERED that, as soon as practicable after the sale of the

       property located at 6432 Case Avenue! Bradenton, Florida, the United States pay

       Bank of America unpaid financed principal charges in the amount of $68,890.12

       and all reasonable unpaid interest, at the contractual rate, in the amount of
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       $5,755.70 as of August 6, 2007, with a daily per diem rate of $1 1.60 until date of

       payment.

              DONE and ORDERED in Chambers in Tampa, Florida, this            I3 5 a y of




       Copies to:
       Adelaide G. Few, AUSA
       Counsel of Record
